United States Courts
Southern District of Texas

IN THE UNITED STATES DISTRICT COUR FILED IN
mt ALS
FILED FOR THE SOUTHERN DISTRICT OF TEXAG '! COURT OF APFE
9/27/24 HOUSTON DIVISION
Nathan Ochsner, Clerk of Court SEP 27 2024
DEBORAH M. YOUNG
CHARLES LYONS, CLERK
Plaintiff, |
|
:
CIVIL ACTION FILE
Vv. | NO. 4:24-CV-01554
| (Trial by Jury Demanded)
YEHONOTAN SADE |
Et al. |
Defendants. pT ee my po,
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&~ RECEIVED “<,
. ~y Tai
NOTICE OF APPEAL OCT 16 2024 }
Pa
To: Clerk of the Court

Plaintiff Charles Lyons herby appeals to 28 USC 1292(a)(1), to the United States Court
of Appeals for the Fifth Circuit, from the case termination order on September 3, 2024 by
The United States District Court, Southern District of Texas, which terminated case 24-
CV-01554 for not executing service of summons to the Defendants although The Clerk of
Court documented the Defendants were served the summons and return of execution in a
timely manner at the Defendants company headquarters address.

Respectfully submitted,

Hharles Brons
Charles Lyons
3950 June Apple Ct
Decatur, GA 30034
470-403-8678
TERRY ADAMS
_ Cer Justice

DErORAH M, Younc
CLERK OF THE COURT

PETER KELLY : f j ANNE Manic GREENWOOD
GoRDON GOODMAN , Curer STAFF ATTORNEY
SARAH Beta LANDAU

RIcHARD HIGHTOWER Court of Appeals PHONE: 713-274-2700

JULIE COUNTISS

VERONICA RIVAS-MOLLOY First Dis trict won. fxcourts.gow/Istcoa.aspx
AMPARO GUERRA

Apri L. FARRIS 301 Fannin Street
Justices Houston, Texas 77002-2066

September 30, 2024

Charles Lyons
3950 June Apple Ct
Decatur, GA 30034

On September 27, 2024 we a received notice of appeal for case
number 24-CV-01554. The document is being returned because we believe that
the document was mistakenly filed with the First Court of Appeals. Please file

your document with the appropriate court. For further questions please call us at

P713-274-2700.

Sincerely,

Deborah M. Young, Clerk of the Court
Local Rule Notice of and Assignment
of Related Case in Original Proceedings
[sample; file with petition in original proceeding]

As required by the Local Rules Relating to Assignment of Related Cases
to and Transfers of Related Cases between the First and Fourteenth Courts of
Appeals, | certify that the following related appeal or original proceeding has
been previously filed in either the First or Fourteenth Court of Appeals:

G None
G Caption:
Trial court

case number:

Appellate court

case number:

Marla Bons

[Signature of certifying attorney or pro se party]

09/25/2024
[Date ]

Note: See Local Rules for the definitions of Aunderlying case, @ Arelated,@ and
Apreviously filed.@
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424 day uN as Bg
Suohy SPLAPYD |

LYLE W. CAYCE

CLERK

United States Court of Appeals

Mr. Nathan Ocshner

U.S. District Court

FIFTH CIRCUIT
OFFICE OF THE CLERK

TEL. 504-310-7700
600 S. MAESTRI PLACE,
Suite 115
NEW ORLEANS, LA 70130

Octeber 23, 2024

Southern District of Texas

MIS-ROUTED NOTICE OF APPEAL

RE: Charles Lyons
USDC# 4:24-CV-1554

Dear Mr.

Ocshner,

I am forwarding a misrouted notice of appeal that should be
filed in the district court. Please note the date the notice of

appeal was

District,

Sept.

27,

024,

received in the Court of Appeals for the First

Sincerely,

7 W. CAYCE, Clerk
Oo?
By: J 6“

Angelique B. Tardie, Deputy Clerk
904-310-7715

